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Case 4:18-cr-00011-MFU-RSB Document 229 Filed 11/06/18 Page 1 of 2 Pageid#: 746
 SHANICQUA LATRICE COLEM AN                 )
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                                    M O TION TO SEAL

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 Honorable Courtto sealthe Indictm ent,and a1lrelated docum ents,in the above captioned case

 foraperiodofthirty(30)daysoruntilalldefendantsaretaken intocustody,whicheverissboner.
                                           R espectfully subm itted,

                                           THOM AS L CULLEN
                                           UNITED STATES ATTORNEY

 /s/HeatherL.Carlton                              /s/Ronald M Huber
 H eatherL.Carlton                                Ronald M .Huber
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 DATE:November6,2018




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